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 1   Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
 2   Meghan E. George (SBN 274525)
 3   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
     21550 Oxnard St., Suite 780
 4   Woodland Hills, CA 91367
 5   Phone: 877-206-4741
     Fax: 866-633-0228
 6
     tfriedman@toddflaw.com
 7   abacon@toddflaw.com
 8   mgeorge@toddflaw.com
     Attorneys for Plaintiff
 9
                           UNITED STATES DISTRICT COURT
10
                       SOUTHERN DISTRICT OF CALIFORNIA
11                                            ) Case No. '16CV2378 L   NLS
     RON RAMOS, individually and on           )
12
     behalf of all others similarly situated, ) CLASS ACTION
13                                            )
14   Plaintiff,                               ) COMPLAINT FOR VIOLATIONS
                                              ) OF:
15          vs.                               )
16                                            )    1. NEGLIGENT VIOLATIONS
                                                        OF THE TELEPHONE
     EZ DOCTORS, NEW BENEFITS,                )         CONSUMER PROTECTION
17
     LTD., and DOES 1 through 10,             )         ACT [47 U.S.C. §227(b)]
18   inclusive, and each of them,             )    2.   WILLFUL VIOLATIONS
                                                        OF THE TELEPHONE
19                                            )         CONSUMER PROTECTION
     Defendant.                               )         ACT [47 U.S.C. §227(b)]
20                                            )    3.   NEGLIGENT VIOLATIONS
                                                        OF THE TELEPHONE
21                                            )         CONSUMER PROTECTION
                                              )         ACT [47 U.S.C. §227(c)]
22                                                 4.   WILLFUL VIOLATIONS
                                              )
                                                        OF THE TELEPHONE
23                                            )         CONSUMER PROTECTION
24
                                              )         ACT [47 U.S.C. §227(c)]
                                              )
25                                            )
26                                            ) DEMAND FOR JURY TRIAL
                                              )
27                                            )
28                                            )


                        FIRST AMENDED CLASS ACTION COMPLAINT
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 1         Plaintiff RON RAMOS (“Plaintiff”), individually and on behalf of all others
 2   similarly situated, alleges the following upon information and belief based upon
 3   personal knowledge:
 4                               NATURE OF THE CASE
 5         1.     Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of EZ DOCTORS and NEW
 8   BENEFITS, LTD. (“Defendants”), in negligently, knowingly, and/or willfully
 9   contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
10   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
11   regulations, specifically the National Do-Not-Call provisions, thereby invading
12   Plaintiff’s privacy.
13                              JURISDICTION & VENUE
14         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
15   a resident of California, seeks relief on behalf of a Class, which will result in at
16   least one class member belonging to a different state than that of Defendant, a
17   Texas corporation. Plaintiff also seeks up to $1,500.00 in damages for each call in
18   violation of the TCPA, which, when aggregated among a proposed class in the
19   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
20   Therefore, both diversity jurisdiction and the damages threshold under the Class
21   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
22         3.     Venue is proper in the United States District Court for the Southern
23   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
24   because Defendant does business within the State of California and Plaintiff resides
25   within the County of San Diego.
26                                       PARTIES
27         4.     Plaintiff, RON RAMOS (“Plaintiff”), is a natural person residing in
28   San Marcos, California and is a “person” as defined by 47 U.S.C. § 153 (39).


                            FIRST AMENDED CLASS ACTION COMPLAINT
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 1         5.     Defendants,     EZ    DOCTORS        and    NEW      BENEFITS,       LTD.
 2   (“Defendants”) are legal entities in the business of marketing and selling discount
 3   programs, and is a “person” as defined by 47 U.S.C. § 153 (39).
 4         6.     The above named Defendants, and its subsidiaries and agents, are
 5   collectively referred to as “Defendants.” The true names and capacities of the
 6   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 7   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 8   names. Each of the Defendants designated herein as a DOE is legally responsible
 9   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
10   Complaint to reflect the true names and capacities of the DOE Defendants when
11   such identities become known.
12         7.     Plaintiff is informed and believes that at all relevant times, each and
13   every Defendant was acting as an agent and/or employee of each of the other
14   Defendants and was acting within the course and scope of said agency and/or
15   employment with the full knowledge and consent of each of the other Defendants.
16   Plaintiff is informed and believes that each of the acts and/or omissions complained
17   of herein was made known to, and ratified by, each of the other Defendants.
18                              FACTUAL ALLEGATIONS
19         8.     Beginning in or around May 27, 2016, Defendant contacted Plaintiff
20   on Plaintiff’s cellular telephone number ending in -1554, in an attempt to solicit
21   Plaintiff to purchase Defendant’s services.
22         9.     Defendant used an “automatic telephone dialing system”, as defined
23   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
24         10.    Defendant contacted or attempted to contact Plaintiff from the
25   telephone number (678) 782-8270.
26         11.    Defendant’s calls constituted calls that were not for emergency
27   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
28         12.    Defendant’s calls were placed to telephone number assigned to a


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 1   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 2   pursuant to 47 U.S.C. § 227(b)(1).
 3         13.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 4   express consent” to receive calls using an automatic telephone dialing system or an
 5   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 6   227(b)(1)(A).
 7         14.    Further, Plaintiff’s cellular telephone number ending in -1554 was
 8   added to the National Do-Not-Call Registry on or about December 16, 2004.
 9         15.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
10   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
11         16.    Despite this, Defendant continued to call Plaintiff in an attempt to
12   solicit its services and in violation of the National Do-Not-Call provisions of the
13   TCPA.
14         17.    Upon information and belief, and based on Plaintiff’s experiences of
15   being called by Defendant despite being on the National Do-Not-Call Registry
16   since 2005, and at all relevant times, Defendant failed to establish and implement
17   reasonable practices and procedures to effectively prevent telephone solicitations
18   in violation of the regulations prescribed under 47 U.S.C. § 227(c)(5).
19                               CLASS ALLEGATIONS
20         18.    Plaintiff brings this action individually and on behalf of all others
21   similarly situated, as a member the two proposed classes (hereafter, jointly, “The
22   Classes”).
23         19.    The class concerning the ATDS claim for no prior express consent
24   (hereafter “The ATDS Class”) is defined as follows:
25
                  All persons within the United States who received any
26                solicitation/telemarketing   telephone   calls   from
27                Defendant to said person’s cellular telephone made
                  through the use of any automatic telephone dialing
28
                  system or an artificial or prerecorded voice and such


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 1                person had not previously consented to receiving such
                  calls within the four years prior to the filing of this
 2                Complaint
 3
 4         20.    The class concerning the National Do-Not-Call violation (hereafter
 5   “The DNC Class”) is defined as follows:
 6
                  All persons within the United States registered on the
 7                National Do-Not-Call Registry for at least 30 days, who
 8
                  had not granted Defendant prior express consent nor had
                  a prior established business relationship, who received
 9                more than one call made by or on behalf of Defendant
10                that promoted Defendant’s products or services, within
                  any twelve-month period, within four years prior to the
11                filing of the complaint.
12
13         21.    Plaintiff represents, and is a member of, The ATDS Class, consisting
14   of all persons within the United States who received any collection telephone calls
15   from Defendant to said person’s cellular telephone made through the use of any
16   automatic telephone dialing system or an artificial or prerecorded voice and such
17   person had not previously not provided their cellular telephone number to
18   Defendant within the four years prior to the filing of this Complaint.
19         22.    Plaintiff represents, and is a member of, The DNC Class, consisting
20   of all persons within the United States registered on the National Do-Not-Call
21   Registry for at least 30 days, who had not granted Defendant prior express consent
22   nor had a prior established business relationship, who received more than one call
23   made by or on behalf of Defendant that promoted Defendant’s products or services,
24   within any twelve-month period, within four years prior to the filing of the
25   complaint.
26         23.    Defendant, its employees and agents are excluded from The Classes.
27   Plaintiff does not know the number of members in The Classes, but believes the
28   Classes members number in the thousands, if not more. Thus, this matter should


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 1   be certified as a Class Action to assist in the expeditious litigation of the matter.
 2         24.    The Classes are so numerous that the individual joinder of all of its
 3   members is impractical. While the exact number and identities of The Classes
 4   members are unknown to Plaintiff at this time and can only be ascertained through
 5   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 6   The Classes includes thousands of members. Plaintiff alleges that The Classes
 7   members may be ascertained by the records maintained by Defendant.
 8         25.    Plaintiff and members of The ATDS Class were harmed by the acts of
 9   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
10   and ATDS Class members via their cellular telephones thereby causing Plaintiff
11   and ATDS Class members to incur certain charges or reduced telephone time for
12   which Plaintiff and ATDS Class members had previously paid by having to retrieve
13   or administer messages left by Defendant during those illegal calls, and invading
14   the privacy of said Plaintiff and ATDS Class members.
15         26.    Common questions of fact and law exist as to all members of The
16   ATDS Class which predominate over any questions affecting only individual
17   members of The ATDS Class. These common legal and factual questions, which
18   do not vary between ATDS Class members, and which may be determined without
19   reference to the individual circumstances of any ATDS Class members, include,
20   but are not limited to, the following:
21                a.     Whether, within the four years prior to the filing of this
22                       Complaint, Defendant made any telemarketing/solicitation call
23                       (other than a call made for emergency purposes or made with
24                       the prior express consent of the called party) to a ATDS Class
25                       member using any automatic telephone dialing system or any
26                       artificial or prerecorded voice to any telephone number
27                       assigned to a cellular telephone service;
28                b.     Whether Plaintiff and the ATDS Class members were damaged


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 1                       thereby, and the extent of damages for such violation; and
 2                c.     Whether Defendant should be enjoined from engaging in such
 3                       conduct in the future.
 4         27.    As a person that received numerous telemarketing/solicitation calls
 5   from Defendant using an automatic telephone dialing system or an artificial or
 6   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
 7   claims that are typical of The ATDS Class.
 8         28.    Plaintiff and members of The DNC Class were harmed by the acts of
 9   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
10   and DNC Class members via their telephones for solicitation purposes, thereby
11   invading the privacy of said Plaintiff and the DNC Class members whose telephone
12   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
13   members were damaged thereby.
14         29.    Common questions of fact and law exist as to all members of The
15   DNC Class which predominate over any questions affecting only individual
16   members of The DNC Class. These common legal and factual questions, which do
17   not vary between DNC Class members, and which may be determined without
18   reference to the individual circumstances of any DNC Class members, include, but
19   are not limited to, the following:
20                a.     Whether, within the four years prior to the filing of this
21                       Complaint, Defendant or its agents placed more than one
22                       solicitation call to the members of the DNC Class whose
23                       telephone numbers were on the National Do-Not-Call Registry
24                       and who had not granted prior express consent to Defendant and
25                       did not have an established business relationship with
26                       Defendant;
27                b.     Whether Defendant obtained prior express written consent to
28                       place solicitation calls to Plaintiff or the DNC Class members’


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 1                      telephones;
 2                c.    Whether Plaintiff and the DNC Class member were damaged
 3                      thereby, and the extent of damages for such violation; and
 4                d.    Whether Defendant and its agents should be enjoined from
 5                      engaging in such conduct in the future.
 6         30.    As a person that received numerous solicitation calls from Defendant
 7   within a 12-month period, who had not granted Defendant prior express consent
 8   and did not have an established business relationship with Defendant, Plaintiff is
 9   asserting claims that are typical of the DNC Class.
10         31.    Plaintiff will fairly and adequately protect the interests of the members
11   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
12   class actions.
13         32.    A class action is superior to other available methods of fair and
14   efficient adjudication of this controversy, since individual litigation of the claims
15   of all Classes members is impracticable. Even if every Classes member could
16   afford individual litigation, the court system could not. It would be unduly
17   burdensome to the courts in which individual litigation of numerous issues would
18   proceed. Individualized litigation would also present the potential for varying,
19   inconsistent, or contradictory judgments and would magnify the delay and expense
20   to all parties and to the court system resulting from multiple trials of the same
21   complex factual issues. By contrast, the conduct of this action as a class action
22   presents fewer management difficulties, conserves the resources of the parties and
23   of the court system, and protects the rights of each Classes member.
24         33.    The prosecution of separate actions by individual Classes members
25   would create a risk of adjudications with respect to them that would, as a practical
26   matter, be dispositive of the interests of the other Classes members not parties to
27   such adjudications or that would substantially impair or impede the ability of such
28   non-party Class members to protect their interests.


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 1         34.    Defendant has acted or refused to act in respects generally applicable
 2   to The Classes, thereby making appropriate final and injunctive relief with regard
 3   to the members of the Classes as a whole.
 4                            FIRST CAUSE OF ACTION
 5         Negligent Violations of the Telephone Consumer Protection Act
 6                                   47 U.S.C. § 227(b)
 7                            On Behalf of the ATDS Class
 8         35.    Plaintiff repeats and incorporates by reference into this cause of action
 9   the allegations set forth above at Paragraphs 1-34.
10         36.    The foregoing acts and omissions of Defendant constitute numerous
11   and multiple negligent violations of the TCPA, including but not limited to each
12   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
13   47 U.S.C. § 227 (b)(1)(A).
14         37.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
15   Plaintiff and the ATDS Class Members are entitled an award of $500.00 in statutory
16   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
17         38.    Plaintiff and the ATDS Class members are also entitled to and seek
18   injunctive relief prohibiting such conduct in the future. 47 U.S.C. § 227(b)(3)(A).
19                           SECOND CAUSE OF ACTION
20    Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                           Act
22                                   47 U.S.C. § 227(b)
23                            On Behalf of the ATDS Class
24         39.    Plaintiff repeats and incorporates by reference into this cause of action
25   the allegations set forth above at Paragraphs 1-38.
26         40.    The foregoing acts and omissions of Defendant constitute numerous
27   and multiple knowing and/or willful violations of the TCPA, including but not
28   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),


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 1   and in particular 47 U.S.C. § 227 (b)(1)(A).
 2         41.    As a result of Defendant’s knowing and/or willful violations of 47
 3   U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled an award of
 4   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 5   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 6         42.    Plaintiff and the Class members are also entitled to and seek injunctive
 7   relief prohibiting such conduct in the future.
 8                             THIRD CAUSE OF ACTION
 9          Negligent Violations of the Telephone Consumer Protection Act
10                                   47 U.S.C. § 227(c)
11                             On Behalf of the DNC Class
12         43.    Plaintiff repeats and incorporates by reference into this cause of action
13   the allegations set forth above at Paragraphs 1-42.
14         44.    The foregoing acts and omissions of Defendant constitute numerous
15   and multiple negligent violations of the TCPA, including but not limited to each
16   and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
17   47 U.S.C. § 227 (c)(5).
18         45.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
19   Plaintiff and the DNC Class members are entitled an award of $500.00 in statutory
20   damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
21         46.    Plaintiff and the DNC Class members are also entitled to and seek
22   injunctive relief prohibiting such conduct in the future. 47 U.S.C. § 227(c)(5)(A).
23   ///
24   ///
25   ///
26   ///
27   ///
28



                          FIRST AMENDED CLASS ACTION COMPLAINT
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 1                             FOURTH CAUSE OF ACTION
 2    Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                             Act
 4                                     47 U.S.C. § 227(c)
 5                               On Behalf of the DNC Class
 6         47.      Plaintiff repeats and incorporates by reference into this cause of action
 7   the allegations set forth above at Paragraphs 1-46.
 8         48.      The foregoing acts and omissions of Defendant constitute numerous
 9   and multiple knowing and/or willful violations of the TCPA, including but not
10   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
11   in particular 47 U.S.C. § 227 (c)(5).
12         49.      As a result of Defendant’s knowing and/or willful violations of 47
13   U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of
14   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15   § 227(c)(5).
16         50.      Plaintiff and the DNC Class members are also entitled to and seek
17   injunctive relief prohibiting such conduct in the future.
18                                 PRAYER FOR RELIEF
19   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
20                              FIRST CAUSE OF ACTION
21          Negligent Violations of the Telephone Consumer Protection Act
22                                     47 U.S.C. § 227(b)
23                As a result of Defendant’s negligent violations of 47 U.S.C.
24                  §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
25                  request $500 in statutory damages, for each and every violation,
26                  pursuant to 47 U.S.C. 227(b)(3)(B).
27                Any and all other relief that the Court deems just and proper.
28



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 1                          SECOND CAUSE OF ACTION
 2   Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                          Act
 4                                  47 U.S.C. § 227(b)
 5               As a result of Defendant’s willful and/or knowing violations of 47
 6               U.S.C. § 227(b)(1), Plaintiff and the ATDS Class members are
 7               entitled to and request treble damages, as provided by statute, up to
 8               $1,500, for each and every violation, pursuant to 47 U.S.C.
 9               §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
10               Any and all other relief that the Court deems just and proper.
11                           THIRD CAUSE OF ACTION
12        Negligent Violations of the Telephone Consumer Protection Act
13                                  47 U.S.C. § 227(c)
14               As a result of Defendant’s negligent violations of 47 U.S.C.
15               §227(c)(5), Plaintiff and the DNC Class members are entitled to and
16               request $500 in statutory damages, for each and every violation,
17               pursuant to 47 U.S.C. 227(c)(5).
18               Any and all other relief that the Court deems just and proper.
19                          FOURTH CAUSE OF ACTION
20   Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                          Act
22                                  47 U.S.C. § 227(c)
23               As a result of Defendant’s willful and/or knowing violations of 47
24               U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
25               to and request treble damages, as provided by statute, up to $1,500,
26               for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
27               Any and all other relief that the Court deems just and proper.
28        51.    Pursuant to the Seventh Amendment to the Constitution of the United


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 1   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 2
 3
 4         Respectfully Submitted this 21st Day of September, 2016.
 5                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 6
                                       By: /s/ Todd M. Friedman
 7                                         Todd M. Friedman
 8
                                           Law Offices of Todd M. Friedman
                                           Attorney for Plaintiff
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